Case: 24-2060    Document: 21     Page: 1   Filed: 08/21/2024




           NOTE: This order is nonprecedential.


   United States Court of Appeals
       for the Federal Circuit
                  ______________________

         KEOLATTANA TOOTOO SAPHILOM,
                Plaintiff-Appellant

                             v.

      NEWREZ LLC, SHELLPOINT MORTGAGE
                   SERVICES,
               Defendants-Appellees
              ______________________

                        2024-2060
                  ______________________

    Appeal from the United States District Court for the
 Western District of Virginia in No. 3:24-cv-00008-NKM-
 JCH, Senior Judge Norman K. Moon.
                 ______________________

                      ON MOTION
                  ______________________

  Before LOURIE, CUNNINGHAM, and STARK, Circuit Judges.
 PER CURIAM.
                        ORDER
     Keolattana Tootoo Saphilom appeals from the district
 court’s judgment dismissing her complaint in this foreclo-
 sure action. She moves for leave to proceed in forma pau-
 peris.    The appellees move to dismiss for lack of
Case: 24-2060     Document: 21      Page: 2    Filed: 08/21/2024




 2                                     SAPHILOM v. NEWREZ LLC




 jurisdiction. Ms. Saphilom responds, asking “this court to
 deny [the] motion to dismiss,” to “transfer to the appropri-
 ate jurisdiction if this jurisdiction is not appropriate,” and
 to grant a “stay pending appeal.” ECF No. 19 at 3.
      Our jurisdiction to review decisions of federal district
 courts extends only to cases arising under the patent laws,
 see 28 U.S.C. § 1295(a)(1); civil actions on review to the dis-
 trict court from the United States Patent and Trademark
 Office, see § 1295(a)(4)(C); or cases involving certain dam-
 ages claims against the United States “not exceeding
 $10,000 in amount,” 28 U.S.C. § 1346(a)(2), see 28 U.S.C.
 § 1295(a)(2); 28 U.S.C. § 1292(c)(1). This case is outside of
 that limited subject matter jurisdiction.
     We may transfer a civil action to another court, if it is
 in the interest of justice, where “the action or appeal could
 have been brought at the time it was filed.” See 28 U.S.C.
 § 1631. Although the appellees argue that this case should
 be dismissed on frivolousness grounds, we deem it the bet-
 ter course to transfer this appeal to the United States
 Court of Appeals for the Fourth Circuit for that court to
 consider appellant’s arguments regarding the merits.
     Accordingly,
     IT IS ORDERED THAT:
    The appeal and all its filings are transferred to the
 United States Court of Appeals for the Fourth Circuit pur-
 suant to 28 U.S.C. § 1631.
                                              FOR THE COURT




 August 21, 2024
     Date
